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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                §
In re:                                          §                   Chapter 11
                                                §
Watson Valve Services, Inc.                     §              Case No. 20-30968
                                                §
                      Debtor.                   §
                                                §

                                Fee Application Summary

Name of Applicant:                            MACCO Restructuring Group, LLC
Applicant’s Role in Case:                     Financial Advisors
Effective date of order approving             Entered: April 10, 2020 (Doc. No. 137)
professional’s retention:                     Effective: February 25, 2020
                                              Beginning of Period End of Period
Time period covered by this Application:      2/25/2020           7/31/2020
Time period(s) covered by prior               N/A                 N/A
Applications:
Total amounts awarded in all prior Applications:                                     N/A
Total fees requested in this Application:                                    $204,245.00
Total professional fees requested in this Application:                       $204,245.00
Total actual professional hours covered by this Application:                       502.30
Average hourly rate for professionals:                                             406.62
Total paraprofessional fees requested in this Application:                          $0.00
Total actual paraprofessional hours covered by this Application:                     0.00
Average hourly rate for paraprofessionals:                                          $0.00
Reimbursable expenses sought in this Application:                                 $270.05
Total to be paid to priority unsecured creditors:                        To be determined
Anticipated % dividend to priority unsecured creditors:                  To be determined
Total to be paid to general unsecured creditors:                         To be determined
Anticipated % dividend to general unsecured creditors:                   To be determined
Date of confirmation hearing:                                            To be determined
Indicate whether plan has been confirmed:                                             No




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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                     §
 In re:                                              §     Chapter 11
                                                     §
 Watson Valve Services, Inc.,                        §     Case No. 20-30968
                                                     §
                        Debtor.                      §
                                                     §

 FIRST AND FINAL APPLICATION OF MACCO RESTRUCTURING GROUP, LLC FOR
       ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
  REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISORS FOR THE DEBTOR
       FOR THE PERIOD FROM FEBRUARY 25, 2020 THROUGH JULY 31, 2020

                        NOTICE PURSUANT TO LOCAL RULE 9013-1

 THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THE
 MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE
 DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE
 AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE
 WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
 WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
 THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
 MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
 UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
 HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

 REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


To the Honorable Marvin Isgur, United States Bankruptcy Judge:

          MACCO Restructuring Group, LLC (“MACCO” or “Applicant”) to Watson Valve

Services, Inc. (the “Debtor”), files this First and Final Application for Allowance of Compensation

(the “Application”). This Application covers fees for professional services rendered and

reimbursement for actual and necessary costs and expenses incurred for the period from February

25, 2020 through July 31, 2020 (the “Compensation Period”), pursuant to Sections 330 and 331

of the United States Bankruptcy Code, 11 § 101, et seq. (the “Bankruptcy Code”), Rule 2016 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and S.D. Tex. L.B.R. 2016-


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1(c). MACCO seeks approval of compensation in the amount of $204,245.00 for fees as well as

reimbursement in the amount of $270.05 for expenses, totaling $204,515.05. In support of this

Application, MACCO respectfully represents as follows:

                                          Jurisdiction

         1.    This Court has jurisdiction to hear and determine the Application pursuant to 28

U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (B).

                                   Procedural Background

         2.    On February 6, 2020 (the “Petition Date”), the Debtor filed a voluntary petition

under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern

District of Texas, Houston Division (the “Court”). The Debtor’s case is being administered by the

Court.

         3.    On March 17, 2020, the Debtor filed an application to employ MACCO as Financial

Advisors [Docket No. 73]. On April 2, 2020, MACCO supplemented its original Declaration in

support of its application for employment [Docket No. 97]. On April 9, 2020, the motion to amend

MACCO’s employment was filed.

         4.    On April 10, 2020, the Court entered the amended order approving the employment

of MACCO as Debtor’s Financial Advisors [Docket No. 137].

         5.    On March 13, 2020, Debtor filed its motion for an order establishing interim

professional compensation procedures [Docket No. 70]. On April 6, 2020, the Court entered the

Order Pursuant to 11 U.S.C. §§ 105(a) and 331 Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals [Dkt. No. 120] (“Interim Compensation

Order”).




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                                First and Final Fee Application

       6.      This is MACCO’s first and final application for compensation which covers

professional services performed during the Compensation Period. Attached hereto, as Exhibit A,

are the detailed billings showing the fees incurred by MACCO during the Compensation Period.

During the Compensation Period covered by this Application, MACCO expended a total of 502.30

hours for professional services rendered on behalf of the Debtor. The billings show the daily time

entries of MACCO professionals and include a description of the nature and substance of the

services rendered, the date on which the services were performed, the professional who performed

the services and the amount of time actually spent as well as the costs incurred.

       7.      The value of the professional services rendered by MACCO during the

Compensation Period totals $204,245.00 and the expenses incurred total $270.05 for a combined

total of $204,515.05.

A.     Summary of Services Rendered

       8.      MACCO believes that the requested fees and expenses are reasonable and

necessary and has charged reasonable rates based upon the customary compensation charged by

comparatively skilled practitioners in non-bankruptcy cases considering the complexity of

similarly involved issues, and whether or not the services rendered were performed within a

reasonable time commensurate with complexity, importance, and nature of the problem, issue or

task addressed. MACCO has avoided duplicative billing and has extensively reviewed the fees to

ensure that they are reasonable and necessary.

       9.      MACCO was employed as financial advisors to provide assistance to the Debtor

with financial reporting, preparation of monthly operating reports, preparation of schedules and

statements, financial forecasting, preparation of 13-week cash flow, preparation of Initial Report

package, attending Initial Debtor Conference, attending 341 meeting, preparation of projections
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and analysis as to wind down or going concern, managing the liquidity of the company, facilitation

of sales process, communication with key stakeholders, vendor management, supply chain analysis

and other operational matters, and claims analysis.

       10.     The following project categories detail the activities performed by MACCO’s

professionals, and the time spent in performance of each such service are as follows.

 Activity     Professional              Hours Billed        Hourly Rate        Bill Amount
 001 - Client Meeting
              Drew McManigle                      4.5            $550.00          $2,475.00
              Paul Maniscalco                     1.3            $550.00            $715.00
              Frank Cottrell                     13.2            $400.00          $5,280.00
              Kathy Mayle                         3.5            $400.00          $1,400.00
              Pablo Bonjour                       4.6            $400.00          $1,840.00
              Micah Miller                        2.5            $350.00            $875.00
              Eri Moll                              2            $175.00            $350.00
                             001 Total:          31.6                            $12,935.00
 002 - Attorney Meeting
              Frank Cottrell                      9.8            $400.00          $3,920.00
              Paul Maniscalco                     0.8            $550.00            $440.00
                             002 Total:          10.6                             $4,360.00
 004 - Client Communications
              Pablo Bonjour                       1.2            $400.00            $480.00
                             004 Total:           1.2                               $480.00
 005 – Attorney Communications
              Drew McManigle                      3.2            $550.00          $1,760.00
              Pablo Bonjour                       1.2            $400.00            $480.00
                             005 Total:           4.4                             $2,240.00
 007 – Internal Communication
              Drew McManigle                      4.5            $550.00          $2,475.00
              Paul Maniscalco                     2.1            $550.00          $1,155.00
              Kathy Mayle                         0.5            $400.00            $200.00
              Micah Miller                        0.3            $350.00            $105.00
                             007 Total:           7.4                             $3,935.00
 008 – Review File, Communications, and Information
              Drew McManigle                        5            $550.00          $2,750.00

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           Pablo Bonjour                         0.3   $400.00      $120.00
           Frank Cottrell                        0.4   $400.00      $160.00
                            008 Total:           5.7              $3,030.00
009 – Operations
            Drew McManigle                      10.6   $550.00    $5,830.00
            Paul Maniscalco                      0.5   $550.00      $275.00
            Frank Cottrell                      32.8   $400.00   $13,120.00
            Kathy Mayle                          1.1   $400.00      $440.00
            Pablo Bonjour                        2.8   $400.00    $1,120.00
            Micah Miller                         0.5   $350.00      $175.00
                           009 Total:           48.3             $20,960.00
010 – Accounting & Financials
            Drew McManigle                       1.9   $550.00    $1,045.00
            Paul Maniscalco                      6.8   $550.00    $3,740.00
            Frank Cottrell                     118.7   $400.00   $47,480.00
            Kathy Mayle                          3.6   $400.00    $1,440.00
            Pablo Bonjour                       11.9   $400.00    $4,760.00
            Micah Miller                        10.2   $350.00    $3,570.00
                           010 Total:          153.1             $62,035.00
015 – Cash Collateral/DIP Finance
            Drew McManigle                       0.6   $550.00      $330.00
            Frank Cottrell                      33.5   $400.00   $13,400.00
            Micah Miller                         3.8   $350.00    $1,330.00
                           015 Total:           37.9             $15,060.00
016 – Case Administration
            Drew McManigle                       6.5   $550.00    $3,575.00
            Paul Maniscalco                      4.5   $550.00    $2,475.00
            Frank Cottrell                       0.5   $400.00      $200.00
            Kathy Mayle                         16.4   $400.00    $6,560.00
            Pablo Bonjour                        1.4   $400.00      $560.00
            Micah Miller                        53.2   $350.00   $18,620.00
            Eric Moll                            1.3   $175.00      $227.50
                           016 Total:           83.8             $32,217.50
017 – Asset Analysis, Recovery and Disposition
            Drew McManigle                         2   $550.00    $1,100.00
            Paul Maniscalco                        2   $550.00    $1,100.00
                           017 Total:              4              $2,200.00


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 018 – Employment/Fee Applications/Objections
            Drew McManigle                       2.9      $550.00         $1,595.00
            Kathy Mayle                            9      $400.00         $3,600.00
            Eric Moll                            1.6      $175.00           $280.00
                           018 Total:           13.5                      $5,475.00
 020 – Claims
            Drew McManigle                       0.6      $550.00           $330.00
            Frank Cottrell                      26.8      $400.00        $10,720.00
            Kathy Mayle                          4.2      $400.00         $1,680.00
                           020 Total:           31.6                     $12,730.00
 023 – Preparation of Schedules and Statements
            Drew McManigle                       0.3      $550.00           $165.00
            Paul Maniscalco                      6.6      $550.00         $3,630.00
            Frank Cottrell                       7.9      $400.00         $3,160.00
            Kathy Mayle                         12.9      $400.00         $5,160.00
            Pablo Bonjour                        2.1      $400.00           $840.00
            Micah Miller                        38.5      $350.00        $13,475.00
            Eric Moll                            0.9      $175.00             157.5
                           023 Total:           69.2                     $26,587.50
            TOTAL:                             502.3                    $204,245.00


       11.    During the Compensation Period, MACCO expended a total of 502.30 hours for

professional services rendered on behalf of the Debtor. A summary of the total time and

compensation for each professional is as follows:




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      Name                                        Hours Hourly Rate               Total
      Drew McManigle, Managing Director            42.60  $550.00            $23,430.00
      and Principal
      Paul Maniscalco, Managing Director           24.60    $550.00          $13,530.00
      Kathy Mayle, Senior Director                 51.20    $400.00          $20,480.00
      Frank Cottrell, Director                    243.60    $400.00          $97,440.00
      Pablo Bonjour, Director                      25.50    $400.00          $10,200.00
      Micah Miller, Senior Financial Analyst      109.00    $350.00          $38,150.00
      Eric Moll, Financial Analyst                  5.80    $175.00           $1,015.00
      Total:                                      502.30                   $204,245.00
      Average Hourly Rate:                                  $406.62

         12.   MACCO seeks reimbursement of its expenses totaling $270.05 and summarized as

below:

                        Expense Code                             Amount
                        E106: - Online research                  $222.51
                        (Pacer)
                        E109: - Local travel                      $47.54
                        TOTAL:                                   $270.05

B.       Retainer

         13.   MACCO did not receive a post-petition retainer.

C.       Monthly Fee Statements and Disbursements

         14.   MACCO has served Monthly Fee Statements on the Reviewing Parties pursuant to

the procedures approved in the Interim Compensation Order [Docket #120] for the months of

February through April 2020. MACCO requests that these interim allowances be approved

together with other compensation awarded to MACCO by this Application. The following table

sets forth the actual amounts allowed as interim payments of compensation and reimbursement of

expenses under the Fee Procedures Order:



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Date       Description                   Fees     Expenses            Total 20%Holdback        Disbursement
04/25/2020 First Monthly Fee      $124,300.00       $66.85       124,366.85    $24,860.00         $99,506.85
           Statement
           (February 25-
           March 31, 2020)
           [Docket No. 149]
5/12/2020 Second Monthly            $22,605.00          $0.00    $22,605.00       $4,521.00        $18,084.00
           Fee Statement
           (April 2020)
           [Docket No. 179]
5/31/2020 May 2020 Invoice         $22,805.00          $22.50    $22,827.50           $0.00             $0.00
6/30/2020 June 2020 Invoice        $16,765.00           $0.00    $16,765.00           $0.00             $0.00
7/31/2020 July 2020 Invoice        $17,770.00         $180.70    $17,950.70           $0.00             $0.00
          TOTALS:                 $204,245.00         $270.05   $204,515.05      $29,381.00       $117,590.85

     D.     First Colonial Factors

            15.     Pursuant to Bankruptcy Local Rule 2016(a), fee applications must include a

     discussion of the factors considered in American Benefit Life Ins. Co. v. Baddock (In re First

     Colonial Corp. of America), 544 F.2d 1291, 1298-99 (5th Cir.), cert. denied, 431 U.S. 904 (1977).

     Consideration of the factors listed in First Colonial Corp. indicates that the compensation

     requested by MACCO for the services rendered during the Compensation Period is reasonable:

            16.     Time and Labor Required. As set forth in detail on Exhibit A, MACCO spent

     502.30 hours during the Compensation Period providing valuation and related services. The

     professionals who provided these services are detailed in the attached invoices.

            17.     Novelty and Difficulty of the Questions. The Debtor retained financial advisors to

     manage liquidity and operations, evaluate whether to winddown the estate or for going concern,

     prepare schedules and statements, negotiate with vendors, review in-process contracts and orders,

     and assist with financial reporting, including monthly operating reports and financial projections.

     MACCO was qualified to provide these services.




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       18.     Skill Requisite to Perform the Service Properly. MACCO’s employees are involved

in numerous active cases and have substantial experience in financial advisory, including business

restructuring and chapter 11 bankruptcy.

       19.     Preclusion of Other Employment Due to the Acceptance of the Case. To the extent

of MACCO’s hourly representation of the Debtor herein during the Compensation Period,

MACCO was precluded from performing such services on behalf of others. Aside from the

foregoing, there was no preclusion from other employment.

       20.     Customary Fee. MACCO has requested a total fee which it feels is reasonable given

the circumstances. The hourly rates applied for are the normal rates charged by MACCO during

the Compensation Period. In the opinion of MACCO, such rates are commensurate with the

industry standard for comparable work.

       21.     Whether the Fee is Fixed or Contingent. The fees in a bankruptcy proceeding are

contingent upon ultimate approval by the court and the existence of liquidity available with which

to pay such fees. Additional contingencies in this case, if any, are described in the summary of

services rendered incorporated into this Application.

       22.     Amount Involved and Results Obtained. A discussion of results obtained is

contained in the narrative summary of services rendered incorporated into this Application.

       23.     The experience, reputation and ability of the professionals. MACCO believes its

members enjoy a good reputation, owing to a successful track record as financial advisors, in the

bankruptcy and restructuring industry. MACCO believes that the firm and its professionals are

well recognized in these industries for their abilities and competencies.

       24.     The Undesirability of the Case. Undesirability of the case with regard to MACCO

is not a factor in this proceeding.



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       25.     Nature and Length of Professional Relationship with Client. The nature and length

of professional relationship with the Debtor is not a factor in this proceeding.

       26.     Awards in Similar Cases. Taking into consideration the nature of the properties

involved in this case, MACCO is of the opinion that the fee requested herein is consistent with

fees that have been awarded in other cases.

                                         Relief Requested

       WHEREFORE, MACCO requests that the Court:

        a.     Approve MACCO’s fees in the amount of $204,245.00, expenses in the amount of
$270.05, for a total of $204,515.05, for the time period of February 25, 2020 to July 31, 2020 on
a final basis;

        b.      Approve $1,000.00 for the finalizing of the fee application and service of the notice
of fee application;

        c.     Approve the disbursements of $117,590.85 (representing the aggregate
disbursements of interim payments authorized under the Interim Fee Procedures), and direct
payment of the balance of MACCO’s fees and expenses totaling $87,924.20 from the Debtor’s
currently available funds; and

       d.      Grant such other and further relief to which MACCO may be entitled in law or in
       equity.




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      DATED: August 11, 2020

                                               Respectfully Submitted,


                                               /s/ Drew McManigle
                                               Drew McManigle
                                               Managing Director
                                               MACCO Restructuring Group LLC
                                               The Pennzoil Building
                                               700 Milam Street, Suite 1300
                                               Houston, Texas 77002
                                               Telephone: (410) 350-1839
                                               Email:
                                               drew@maccorestructuringgroup.com



                             CERTIFICATE OF SERVICE

        I hereby certify that on August 11, 2020, a copy of the foregoing First and Final
Application of MACCO Restructuring Group, LLC for Allowance of Compensation for Services
Rendered and Reimbursement of Expenses as Financial Advisors for the Debtor for the Period
from February 25, 2020 to July 31, 2020 has been served via the ECF system to the parties
receiving ECF notice.

                                         /s/ Drew McManigle
                                         DREW MCMANIGLE




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